Case 19-23195-RG       Doc 9  Filed 08/01/19 Entered 08/01/19 03:30:30              Desc   Page
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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF NEW JERSEY
                                   NEWARK DIVISON



In re                                              )   Chapter 7
 Joseph Bertuglia,                                 )
                                                   )   Case Number. 19-23195
                                                   )
Debtor(s)                                          )   Judge Rosemary Gambardella
                                                   )


                         REQUEST OF ATLAS ACQUISITIONS
            FOR SERVICE OF NOTICES PURSUANT TO FED. R. BANKR. P. 2002(g)


PLEASE TAKE NOTICE that Atlas Acquisitions LLC, a creditor in the above-captioned case,

requests, pursuant to Rules 2002 and 9007 of the Federal Rules of Bankruptcy Procedure (the

Bankruptcy Rules) and sections 102(1), 342 and 1109(b) of title 11 of the United States Code,

11 U.S.C. §§ 101, et seq. (as amended, the Bankruptcy Code), that all notices given or required

to be given and all papers served or required to be served in this case be also given to and

served, whether electronically or otherwise, on:


        Atlas Acquisitions LLC
        294 Union St.
        Hackensack, NJ 07601
        Attn: Avi Schild
        Telephone: (888) 762-9889
        Facsimile: (201) 546-9377
        E-mail: bk@atlasacq.com

Dated: 08/01/2019

                                                   By: /s/ Avi Schild
                                                   Avi Schild
                                                   c/o Atlas Acquisitions LLC
                                                   President
                                                   294 Union St.
                                                   Hackensack, NJ 07601
                                                   (888) 762-9889

Assignee Creditor: Cornwell Quality Tools Company [Last four digits of account: 4652]
